Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 1 of 51




                                                      EXHIBIT 5
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 2 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 3 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 4 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 5 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 6 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 7 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 8 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 9 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 10 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 11 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 12 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 13 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 14 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 15 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 16 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 17 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 18 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 19 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 20 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 21 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 22 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 23 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 24 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 25 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 26 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 27 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 28 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 29 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 30 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 31 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 32 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 33 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 34 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 35 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 36 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 37 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 38 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 39 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 40 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 41 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 42 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 43 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 44 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 45 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 46 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 47 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 48 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 49 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 50 of 51
Case 5:21-cv-00097-PRW Document 1-5 Filed 02/09/21 Page 51 of 51
